              Case 6:20-cv-00487-ADA Document 78 Filed 05/07/21 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


    WSOU INVESTMENTS LLC D/B/A                       §
    BRAZOS LICENSING AND                             §   C.A. NO. 6:20-cv-00487-ADA
    DEVELOPMENT,                                     §   C.A. NO. 6:20-cv-00488-ADA
                                                     §   C.A. NO. 6:20-cv-00489-ADA
                           Plaintiff,                §   C.A. NO. 6:20-cv-00490-ADA
                                                     §   C.A. NO. 6:20-cv-00491-ADA
    v.                                               §   C.A. NO. 6:20-cv-00492-ADA
                                                     §   C.A. NO. 6:20-cv-00493-ADA
    ZTE CORPORATION, ZTE (USA) INC.                  §   C.A. NO. 6:20-cv-00494-ADA
    AND ZTE (TX), INC.,                              §   C.A. NO. 6:20-cv-00495-ADA
                                                     §   C.A. NO. 6:20-cv-00496-ADA
                           Defendants.               §   C.A. NO. 6:20-cv-00497-ADA
                                                     §


         FOURTH STATUS REPORT REGARDING PENDING VENUE MOTIONS
         Pursuant to the Court’s March 23, 2021 Standing Order Regarding Motion for Inter-

District Transfer (“Standing Order”), Defendants ZTE Corporation (“ZTE Corp.”), ZTE (USA)

Inc. (“ZTA”), and ZTE (TX), Inc. (“ZTX”) (collectively “ZTE”) provide the following fourth

status report regarding the pending venue-related motions with respect to the eleven separate

pending suits filed by Plaintiff WSOU Investments LLC D/B/A Brazos Licensing and

Development (“WSOU”): 1

         1.       ZTE filed its respective Sur-Reply and Reply Supplemental Claim Construction

briefs today, May 7, 2021. As such, the parties’ respective claim construction briefing has

concluded. The Markman hearing for these cases was recently rescheduled/consolidated from

May 20-21, 2021 to just May 21, 2021 (less than two weeks away). See Dkt. 72.



1
 There are 11 pending cases. Citations throughout refer to new WDTX Case Nos. -00487 through
-00497, and specific citations reference to the docket for WDTX Case No. -00487.



                                                 1
            Case 6:20-cv-00487-ADA Document 78 Filed 05/07/21 Page 2 of 3




       2.       In contrast to the claim construction briefing, the venue briefing has yet to

conclude. In fact, WSOU no longer represents it will conclude discovery before the Markman

hearing. Compare Dkt. 76 with Dkt. 68 (WSOU stating that venue discovery “should be

complete by April 30”). Nevertheless, the Markman hearing remains several weeks before the

conclusion of the venue discovery in the cases on June 4, 2021 (and the remaining briefing for

the Second Motion to Dismiss)—and, as stated above, is just a few weeks away. In the unlikely

event that WSOU immediately completes venue discovery, the briefing-hearing-ruling process

will not be complete before the Markman hearing. As such, the venue issues will not be resolved

before the currently-scheduled Markman hearing.

       3.       Thus, as outlined in the pending Motion to Stay (which is ripe for resolution),

Dkt. No. 49, and in accordance with the Standing Order and Federal Circuit mandate/precedent, 2

Defendants again respectfully request that all issues unrelated to venue be stayed, pending the

outcome of the Second Motion to Dismiss.

DATED: May 7, 2021                                    Respectfully submitted,

                                                      /s/Lionel M. Lavenue
                                                      Lionel M. Lavenue
                                                      Virginia Bar No. 49,005
                                                      lionel.lavenue@finnegan.com
                                                      FINNEGAN, HENDERSON, FARABOW,
                                                      GARRETT & DUNNER, LLP
                                                      1875 Explorer Street, Suite 800
                                                      Reston, VA 20190
                                                      Phone: (571) 203-2700
                                                      Fax:     (202) 408-4400

                                                      ATTORNEY FOR DEFENDANTS

2
  See In re TracFone Wireless, Inc., 2021-118, 2021 WL 865353 (Fed. Cir. Mar. 8, 2021)
(district courts must give venue motions “top priority before resolving the substantive issues in
the case”); see also See In re Apple, 979 F.3d 1332, 1337 (Fed. Cir. 2020) (resolution of venue
issues should “unquestionably take top priority” in a case); and In re SK Hynix Inc., No. 2021-
113, 2021 WL 321071, at *1 (Fed. Cir. Feb. 1, 2021) (prioritization of venue considerations).


                                                  2
         Case 6:20-cv-00487-ADA Document 78 Filed 05/07/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have

consented to electronic service are being served with a copy of this document via the Court’s

CM/ECF system on May 7, 2021.

                                                            /s/Lionel M. Lavenue
                                                            Lionel M. Lavenue




                                                3
